                      UNITED STATES COURT OF APPEALS
                          FOR THE FOURTH CIRCUIT
                    1100 East Main Street, Suite 501, Richmond, Virginia 23219
                                  www.ca4.uscourts.gov

                                       January 7, 2025

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                                       No. 25-1019
                                  (5:24-cv-00724-M-RN)
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JEFFERSON GRIFFIN

                Plaintiff - Appellee

v.

NORTH CAROLINA ALLIANCE FOR RETIRED AMERICANS; VOTEVETS
ACTION FUND; TANYA WEBSTER-DURHAM; SARAH SMITH; JUANITA
ANDERSON

                Intervenors - Appellants
                 ___________________________________________

                  DOCKETING NOTICE--CIVIL/AGENCY CASE
                 ___________________________________________

TO: Counsel

ATTACHMENT(S): Memorandum on Sealed and Confidential Information

DUE DATE: 14 days from this notice

     •   This case has been placed on the court's docket under the above-referenced
         number, which should be used on all documents filed in this case.
     •   Counsel should review the above caption and promptly bring any necessary
         corrections to the case manager's attention. If the caption names individuals
         who are minors, counsel should notify the case manager so that the names
         can be redacted.
   •   Parties in immigration, social security, and railroad retirement board cases
       who wish to prevent their full names from appearing in court documents,
       including opinions available on the Internet, may file a motion to redact their
       name to use only their first name and last initial rather than their full name.
   •   In consolidated cases, filings should be made using all case numbers to
       which the filing applies, beginning with the lead case number.
   •   Electronic filing is mandatory for counsel in all Fourth Circuit cases.
       Information on obtaining an electronic filing account is available on the
       court's Internet site.
   •   In cases in which more than one attorney represents a party, future notices
       will be sent only to attorneys who have entered an appearance as counsel of
       record; other attorneys will be removed from the case.
   •   Counsel must remove from documents filed with this court any social
       security numbers, juvenile names, dates of birth, financial account numbers,
       home addresses in criminal cases, and protected information regarding
       unexecuted summonses, jurors, presentence investigations, statements of
       reasons in criminal judgments, and substantial assistance agreements. Any
       sealed material must be filed in accordance with the enclosed Memorandum
       on Sealed and Confidential Material. The court does not seal its docket;
       therefore, counsel must use sealed entries for all sealed filings.
   •   Initial forms must be filed as directed in the following table of forms. The
       forms, available through the links below or on the court's Internet site, can
       be completed online and printed to PDF for filing in electronic form.

 Form:            Required From:                                           Due:
 Appearance of    Counsel of record for any party to the appeal (If not    Within 14 days of this
 Counsel          admitted to this court, counsel must complete and        notice
                  submit an application for admission.)

 Disclosure       All parties to a civil or bankruptcy case and all        Within 14 days of this
 Statement        corporate defendants in a criminal case (not required    notice
                  from the United States, from indigent parties, or from
                  state or local governments in pro se cases). Required
                  from United States in criminal case with
                  organizational victim.

 Docketing        Appellant's counsel                                      Within 14 days of this
 Statement                                                                 notice

 Transcript       Appellant, only if ordering transcript                   Attach to docketing
 Order                                                                     statement


I will be the case manager for this case. Please contact me at the number listed
below if you have any questions regarding your case.
Rachel Phillips, Deputy Clerk
804-916-2702
           SEALED & CONFIDENTIAL MATERIALS
Internet Availability of Docket & Documents

Fourth Circuit case dockets and documents are available on the Internet via the
Judiciary's PACER system (Public Access to Court Electronic Records). The
Fourth Circuit docket is available on the Internet even if the district court docket
was sealed. If a party's name was sealed in the district court, it should be replaced
by "Under Seal" or a pseudonym on appeal.

Due to the electronic availability of court documents, the federal rules prohibit
including certain personal data identifiers in court filings. In addition, parties
should not include any data in their filings that they would not want on the
Internet. Counsel should advise their clients on this subject so that an informed
decision can be made. Responsibility rests with counsel and the parties, not with
the clerk.

Documents filed by the parties in immigration, social security, and railroad
retirement board cases are not accessible over the Internet to the public. Public
Internet access is limited to the court's docket, orders, and opinions in these cases.
Parties wishing to prevent their full names from appearing in court documents,
including opinions available on the Internet, may file a motion to redact their name
to use only their first name and last initial rather than their full name.

Federal Rules of Procedure

The federal rules of procedure require filers to redact any of the following personal
data identifiers (PDIs) if included in court filings: (1) social security and tax ID
numbers must be limited to last four digits; (2) minor children must be identified
by their initials only; (3) dates of birth must show the year only; (4) financial
account numbers must be limited to the last four digits only; and (5) home
addresses in criminal cases must be limited to city and state only. The federal rules
establish limited exceptions to these redaction requirements. See Fed. R. App. P.
25(a)(5); Fed. R. Civ. P. 5.2; Fed. R. Crim. P. 49.1; Fed. R. Bankr. P. 9037

Judicial Conference Privacy Policy

In addition, the judiciary's regulation on Privacy Policy for Electronic Case Files
prohibits filers from including any of the following criminal documents in the
public file: (1) unexecuted summonses or warrants; (2) bail or presentence reports;
(3) statement of reasons in judgment of conviction; (4) juvenile records; (5)
identifying information about jurors or potential jurors; (6) CJA financial
affidavits; (7) ex parte requests to authorize CJA services and (8) any sealed
documents, such as motions for downward departure for substantial assistance,
plea agreements indicating cooperation, or victim statements. Any reference to
substantial assistance or cooperation with the government in criminal proceedings
should be sealed in the parties' briefs.

Local Rule 25(c)

Local Rule 25(c) limits the sealing of documents by requiring that sealed record
material be separated from unsealed material and placed in a sealed volume of the
appendix and by requiring the filing of both sealed, highlighted versions and
public, redacted versions of briefs and other documents.

Since the ECF events for sealed filings make the documents accessible only to the
court, counsel must serve sealed documents on the other parties outside ECF.

Sealed Volume of Appendix

If sealed record material needs to be included in the appendix, it must be placed in
a separate, sealed volume of the appendix and filed with a certificate of
confidentiality. In consolidated criminal cases in which presentence reports are
being filed for multiple defendants, each presentence report must be placed in a
separate, sealed volume served only on Government counsel and counsel for the
defendant who is the subject of the report.

   •   Use ECF event-SEALED JOINT APPENDIX (court access) and
       SEALED SUPPLEMENTAL APPENDIX (court access) to file sealed
       electronic appendix volume(s). Cover of sealed appendix volume must be
       marked SEALED, and paper copies must be placed in envelopes marked
       SEALED. Sealed volume must be served on other parties outside ECF.
   •   Use ECF event-Certificate of confidentiality to identify authority for
       treating material as sealed and to identify who may have access to sealed
       material. A paper copy of the certificate of confidentiality must accompany
       the paper copy of the sealed appendix filed with the court.
   •   Use ECF event-JOINT APPENDIX and SUPPLEMENTAL APPENDIX
       to file public electronic appendix volumes(s).

Sealed Version of Brief

If sealed material needs to be referenced in a brief, counsel must file both a sealed,
highlighted version of the brief and a public, redacted version of the brief, as
well as a certificate of confidentiality.
   •   Use ECF event-SEALED BRIEF (court access)(formal briefs under seal)
       to file sealed electronic version of brief in which sealed material has been
       highlighted. Cover of sealed brief must be marked SEALED, and paper
       copies must be placed in envelopes marked SEALED. Sealed version must
       be served on other parties outside ECF.
   •   Use ECF event-Certificate of confidentiality to identify authority for
       treating material as sealed and to identify who may have access to sealed
       material. A paper copy of the certificate of confidentiality must accompany
       the paper copy of the sealed brief filed with the court.
   •   Use ECF event-BRIEF (formal briefs not under seal) to file public
       electronic version of brief from which sealed material has been redacted.

Sealed Version of Motions and Other Documents

If sealed material needs to be referenced in a motion or other document, counsel
must file both a sealed, highlighted version and a public, redacted version, as
well as a certificate of confidentiality.

   •   Use ECF event-SEALED DOCUMENT to file sealed electronic version of
       document in which sealed material has been highlighted. First page of
       document must be marked SEALED. Sealed version must be served on other
       parties outside ECF.
   •   Use ECF event-Certificate of confidentiality to identify authority for
       treating material as sealed and to identify who may have access to sealed
       material.
   •   Use the appropriate ECF event (e.g., MOTION or RESPONSE/ANSWER)
       to file public electronic version of document from which sealed material has
       been redacted.

Motions to Seal

A certificate of confidentiality may be used to request sealing of information
protected by the Privacy Policy for Electronic Case Files, or by statute, rule,
regulation, or order. To request sealing of other materials, or to request sealing of
an entire brief or motion due to inability to create a public, redacted version,
counsel must file a motion to seal.

The motion to seal must appear on the public docket for five days. The motion
must identify the document or portions thereof for which sealing is requested, the
reasons why sealing is necessary, the reasons a less drastic alternative will not
afford adequate protection, and the period of time for which sealing is required. If
it is necessary to reference sealed material in the motion, a sealed, highlighted
version and a public, redacted version of the motion must be filed.

Highly Sensitive Documents

The court has adopted Standing Order 21-01 implementing procedures adopted by
the Federal Judiciary for the filing of highly sensitive sealed documents in paper
form, accompanied by a certificate (for material sealed by the district court or other
tribunal) or motion (for requests to file material under seal in the first instance).

Forms: Certificate of Confidentiality & Certificate for Highly Sensitive Document
Protection

Instructions: How do I redact items from pleadings? (Marking out text in a word
processing document using a highlighter or box tool does not remove sensitive data
from the document.)
